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                                                                              Time set: 10:00 AM
                                                                             Start time: 10:17 AM
                                                                             End time: 10:58 AM

                         IN THE UNITED STATES COURT
                       FOR THE DISTRICT OF PUERTO RICO

MINUTE OF PROCEEDINGS:

SILVIA L. CARRENO‐COLL, U.S. DISTRICT JUDGE
   COURTROOM DEPUTY: Reina Alvarez Miranda             Date: June 16, 2022
   COURT REPORTER: Evilys Carrion                      Criminal Case: 19‐121 (SCC)
====================================================================

                                           Attorneys

  United States of America                 AUSA Joseph L. Russell
               v.
  (2) Vladimir Natera‐Abreu                Jennie M. Espada‐Ocasio
  (5) Jose L. Garcia‐Lopez                 Linda George
  (6) Luis A. Garcia‐Lopez                 Howard Leader
  (7) Elvin O. Cruz‐Verges                 Kehylis Y. Vazquez‐Torres
  (9) Segismar Rodriguez‐Rivera            Francisco J. Adam (for Raul S. Mariani‐Franco)
  (10) Luis Serrano‐Nieves                 Juan P. Rivera‐Roman – NOT PRESENT
  (11) Christian O. Dalmau‐Garcia          Rafael F. Castro‐Lang
  (12) Fabian Viloria‐Sepulveda            Miguel Oppenheimer (for Jose L. Novas‐Debien)
  (13) Anthony Vazquez‐Arroyo              Diego H. Alcala‐Laboy
  (14) Luis R. Espinal‐Rivera              Francisco J. Adams‐Quesada
  (15) Ignacio Gual‐Calderon               Peter Diaz‐Santiago – NOT PRESENT
  (16) Jonathan Rivera‐Carrasquillo        Rachel Brill
  (17) Samuel Castro‐Rivera                Rafael Castro‐Lang (for Raymond L. Sanchez)
  (19) Joset J. Rivera‐Verdejo             Jennie M. Espada‐Ocasio (for Alejandro Sanfeliu‐Vera)
  (20) Jason Arroyo‐Perez                  Miguel A. Rodriguez‐Robles (not present)
  (26) Jonathan O. Arce‐Carrillo           Rafael F. Castro‐Lang
  (27) Gustavo J. Germes‐Estrella          Victor A. Ramos‐Rodriguez
  (28) Dionicio Odali De La Rosa‐Richiez   Lydia Lizarribar‐Masini
  (30) Carlos R. Nieves                    Ruben Cerezo‐Hernanzdez
  (33) Adams E. Aquino‐Rosario             Marta T. Rey‐Cacho
  (34) Alexis Fermaint‐Caraballo           Johnny Rivera‐Gonzalez (for Jose B. Velez‐Goveo)
  (35) Christian J. Sierra‐Perez           Johnny Rivera‐Gonzalez
  (36) Victor Rivera‐Galindez              Eduardo Ferrer‐Rios – NOT PRESENT
  (38) Edgardo A. Benitez‐Guivas           Thomas Trebilcock‐Horan
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                                                                              Time set: 10:00 AM
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  (53) Edwin Rosa‐Colon                        Mariangela Tirado‐Vales
  (54) Luis O. Caban‐Rodriguez                 Miguel Oppenheimer
  (56) Leslie R. Dominguez‐Miranda             Juan F. Matos‐De‐Juan
  (60) Joel C. Nieves‐Torres                   Miguel Oppenheimer (for Jason Gonzalez‐Delgado)
  (65) Jose J. Piris‐Hernandez                 Thomas R. Lincoln‐San‐Juan
  (68) Michael G. Marrero‐Castro               Rosa Ivette Bonini‐Laracuente
  (72) Reynaldo M. Diaz‐Verges                 Joseph G. Feldstein‐Del Valle
  (74) Carlos Gabriel Rodriguez‐Melendez       Ernesto Hernandez‐Milan




                  CASE CALLED FOR A PRETRIAL CONFERENCE


       Defense counsel, listed above, were present by Video Tele‐Conference (VTC).

The parties had no objections as to conducting the hearing by VTC to protect

everyoneʹs health in view of the pandemic.

       Status of the case was discussed.

       The Court clarified concerns regarding COVID protocols when transporting

inmates to the Courthouse for Court proceedings.

       The Court also clarified that although the Court may request and recommend

that a defendant be brought back to the jurisdiction, the US Marshal Services will

exercise its discretion taking into account factors like security and capacity for the

amount of inmates at the institutions.

       The government informed that plea negotiations are ongoing. There is a plea

agreement offer that is subject to the first 8 defendants’ acceptance. If the first 8

defendants do not plead, the plea agreement will be withdrawn as to the remaining

defendants.

       The Court informed that June 30th, 2022 is available for scheduling the Change

of Plea Hearings of the 8 first defendants if they file the motion for change of plea.
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         Concerns voiced by defense counsel regarding poor communication with their

clients due to COVID protocols were heard.

         Defense counsel informed that plea negotiations are ongoing.

         Defense counsel requested that the date for pleading guilty be extended and

that the trial date be adjourned for 6 weeks. The government had no objections.

         The Court held both matters under advisement. Ruling to be issued by separate

order.

         STA tolled in the interest of justice. The Court finds that the defendants’ need

to review discovery and engage in plea negotiations outweighs the defendants’ and

the communityʹs interest in a speedy trial.

               In San Juan, Puerto Rico, this 16th day of June, 2022.

                                                   s/ Reina Alvarez Miranda
                                                    COURTROOM DEPUTY
